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October 30, 2024

 VIA EMAIL


 Bruce McMullen
 Jennie Vee Silk
 Freeman B. Foster
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 165 Madison Avenue, Suite 2000
 Memphis, TN 38103



                    Re: Wells v. City of Memphis, et al.
                        Case No. 2:23-cv-02224-MSN-atc

 Dear Counsel:

        Thank you for meeting with us on October 28, 2024. I am writing to recount what we
discussed and to provide further information regarding Plaintiff’s position on key issues raised in
Defendant’s October 9, 2024 Motion to Compel and Plaintiff’s October 16, 2024 Rule 37 Letter.
This letter addresses these issues in the order discussed on our call.

       Where we indicate below that we have agreed to provide a supplemental discovery response,
we are working to provide as many of those as possible to you by November 1, 2024.

   A.      Discovery Issues Raised in City of Memphis’s October 9 Motion to Compel

           1. City’s Interrogatory 2 (identity of any witness who Plaintiff or Plaintiff’s
              counsel has interviewed)

        As discussed, Plaintiff objects to the City’s request for “any witness or potential witness
whom [Plaintiff], or someone on [Plaintiff’s] behalf, has interviewed or obtained a statement from
with respect to the allegations set forth in the Complaint” on grounds that this request is overbroad,
unduly burdensome, and improperly calls for Plaintiff to divulge information protected by the work-
product doctrine.

         Courts addressing such discovery have disallowed it, holding that a party is not required to
disclose the identities of all individuals interviewed, as such interrogatories “effectively seek
disclosure of [] counsel’s work product because disclosure of the information would reveal counsel’s
litigation strategy.” Hammett v. Am. Queen Steamboat Operating Co., LLC, No. 14-CV-2540-

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SHL/TMP, 2015 WL 12805697, at *4 (W.D. Tenn. July 17, 2015) (colleting cases); see also Glenn
v. City of Hammond, No. 2:18-CV-150-TLS-JEM, 2023 WL 4117972, at *3, n.1 (N.D. Ind. June 21,
2023) (“[The] Court finds that . . . the work-product doctrine protects against disclosure of a list of
individuals interviewed by the attorneys and their agents in relation to litigation is supported by the
persuasive district court decisions from this and other circuits.”) (colleting cases)); Advanced
Laparoscopic Surgery, PC v. Cynosure, Inc., No. 19-cv-10151, 2020 WL 12574966, at *2 (E.D.
Mich. Mar. 30, 2020) (“[T]he cases cited by defendant, that find that the names of witnesses
interviewed by counsel are protected by the work product doctrine, are more persuasive and more
respectful of the sanctity of opinion work product protection . . . .”).

         Courts prohibit such discovery because interrogatories asking who opposing counsel has
interviewed “seek to track the steps of opposing counsel and their witness choices,” which
inappropriately “focus[es] on the actions of lawyers rather than the knowledge of witnesses.” EEOC
v. Collegeville/Imagineering Ent., No. CV-05-3033, 2007 WL 1089712, at *1 (D. Ariz. Apr. 10,
2007). It is for this reason that “courts have recognized a distinction between a party seeking the
identities of individuals with relevant knowledge and a party seeking the identities of individuals
interviewed by opposing counsel, the latter of which raises work product concerns.” Hammett, 2015
WL 12805697, at *4 (emphasis added). Plaintiff’s position tracks this well-established distinction.
As discussed, Plaintiff has disclosed individuals with relevant knowledge in her Rule 26(a)(1)
disclosures and will continue to supplement those disclosures as appropriate throughout discovery,
but Plaintiff stands on her objection to disclosing “any witness or potential witness whom [Plaintiff],
or someone on [Plaintiff’s] behalf, has interviewed or obtained a statement from.”

           2. City’s Interrogatory 5 (Identity of Mr. Nichols Employers)

       The parties agreed that Plaintiff will further supplement her response to this interrogatory
with two additional employers recently discovered.

           3. City’s Interrogatory 6 (Mr. Nichols Educational background)

        The parties agreed that Plaintiff will further supplement her response to this interrogatory
to add the one additional year recently discovered.

           4. City’s Interrogatory 13 (Nature of Ms. Wells Psychological Injuries)

       Plaintiff will supplement her response to this interrogatory.

           5. City’s Interrogatory 17 (Persons who have resided with Mr. Nichols’ son)

         The parties agreed that Plaintiff will further supplement her response to this interrogatory
to clarify that she is not withholding responsive information based on her objections.

           6. City’s Request for Production 3 (Communications with any person regarding
              the lawsuit)

       The parties discussed Plaintiff’s overbreadth and undue burden objections to this request.
The parties agreed that the City will provide proposed language narrowing this request by end of day
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October 31, 2024.

           7. City’s Request for Production 7 (All communications with Morgan Jackson)

        The parties agreed that Plaintiff will further supplement her response to this RFP to clarify
that she is not withholding responsive information based on her objections.

           8. City’s Request for Production 21 (Executed copies of releases)

        To our knowledge, the City provided Plaintiff with 16 releases for the first time on October
28, 2024 at 1:44 p.m., a few minutes before our 2:00 p.m. call that day. At the time of our call,
Plaintiff had not yet reviewed that email and was not aware of the breadth of the releases. We are
reviewing these proposed releases and will advise you by the end of next week as to whether we will
agree to execute them.

   B.      Discovery Issues Raised in Plaintiff’s October 16 Rule 37 Letter

           1. SCORPION SOP

        On our call, counsel for the City reiterated that they discovered the SCOPRION SOP during
their deposition prep of Monique Williams, when Ms. Williams showed counsel documents in a
folder, which included a hard copy of the SCOPRION SOP. Counsel for the City stated that they
interviewed anyone who would be familiar with the SCORPION SOP, and none recall ever seeing
the document or knowing whether a final, operative version was in effect.

        We note, however, that while the City has produced one version of the SCORPION SOP
that appears to be a scan of a hard copy, presumably from Ms. Williams (COM_0047036), the City
has also produced five versions of the SCORPION SOP that are native Word files
(COM_0057786; COM_0054599; COM_0054704; COM_0054600; COM_0057787).

          These native Word versions of the SCORPION SOP had to have come from specific
electronic repositories on the City’s computer system. Those repositories themselves, and the
metadata associated with the documents, should reveal a wealth of information about the authors and
custodians of the SOPs. The metadata on these documents that we have reviewed, however, reveals
little: the metadata for all the versions of the SCORPION SOP produced to date all state “Unspecified
Custodian,” fail to identify any noncustodial source, and list “Information Systems” as the Author.
The “Created” dates are either November 9, 2021 or August 1, 2023.

        Counsel for the City stated that they have not done a global collection of ESI from network
drives or shared drives, and instead they have made requests to MPD personnel to search particular
network drives or shared drives for documents responsive to particular RFPs. We have never
agreed on that approach and we do not believe that approach is sufficient, including for identifying
the information relevant to these SOPs, their sources, custodians, and authors.

         The City agreed to run search terms for the SCORPION SOP through the City’s ESI
collection, which the City stated consists of custodial emails and attachments. Please inform
us of the results of this search and produce any responsive documents by November 8, 2024.
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          In addition to this search, we must ask that you identify the following:

        Please let us know, by November 8, 2024, where you collected each of these versions of
the SCORPION SOP, including all drafts of the SOP, and who the custodian(s) and authors
are of each. If there is no custodian or author, provide the name of the non-custodial source.

            2. Plaintiff’s Request for Production 96 (Response to Resistance Forms from 2018-
               2023)

         During our call, the thrust of the City’s objection to this discovery was that it was overbroad.
Specifically, the City argued that these RFPs are outside the scope of discovery because the
allegations in Plaintiff’s complaint concern only the SCORPION Unit.

          That argument is simply incorrect. While the complaint’s narrative theme certainly
emphasizes the SCORPION unit, its factual allegations are broader, concern excessive force and
failure to supervise at the MPD generally, and go back years before SCORPION’s formation. For
example, the complaint points to the deaths of “Anjustine Hunter (killed in 2013 after a traffic stop),
Darrius Stewart (killed in 2015 after a traffic stop), and D’Mario Perkins (killed in 2018 after a
traffic stop),” and notes that “[w]hile these deaths pre-date the SCORPION unit, they are
illustrative of the violent custom of MPD officers in conducting traffic stops, the Department’s
tolerance of the same, their refusal to make changes, and the need for further training.” Compl. at
24 n.3. Likewise, the complaint points to the fact that “violent, pretextual traffic stops by Memphis
Police Officers (including SCORPION Unit Officers) were resulting in frequent injury and even
several deaths and had been since 2013.” Compl. ¶ 107. The complaint notes that “formal
excessive-force complaints against MPD officers reached an all-time high in 2020—a nearly 60%
[increase] from the previous three years’ average.” Compl. ¶ 128. And the complaint notes that
“[t]he hiring of inexperienced officers and officers with disciplinary issues were not unique to the
SCORPION Unit, as Chief Davis and the City of Memphis were hiring inexperienced and problem
officers throughout the department between 2020 and 2022[.]” Compl. ¶¶ 120-21.

         There are numerous other examples of such allegations, which go well outside the
SCORPION Unit. See, e.g., Compl. at 17 n.1; id. ¶¶ 115-116, 135, 300-301, 328-331, 335, 337, 339-
340, 354-355. The factual allegations of Plaintiff’s complaint bring RFP 96 and each of the requests
that the City objected to on overbreadth grounds well within the Monell claims Plaintiff has asserted.
Indeed, the City itself has been emphatic that the “SCORPION” Unit had been in operation since at
least 2006, and had simply been operating under another name—“CAT.” See, e.g., City’s Resp. to
Pl.’s Interrogatory 5 (stating that the SCORPION unit was “merely” a “rebranding” of “CAT,”
MPD’s Criminal Apprehension Team, which “existed since 2006”).

        What is more, as discussed on the parties’ call, Plaintiff plans to amend her complaint to
address MPD policies and practices well beyond the SCORPION unit, as those widespread practices
were brought into focus by testimony given at the criminal trial, which revealed widespread practices
across the MPD of unwarranted police brutality and a code of silence that enabled it. Plaintiff’s
counsel received criminal trial transcripts on October 23, 2024, and are now drafting an amended
complaint that will assert broader allegations about MPD practices. Those allegations will certainly
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encompass the discovery requests to which you are objecting on scope. Refusing to produce the
discovery now does little except manufacture delay.
        We do not, for these reasons, believe that the City’s scope objections are appropriate, even
under the current version of the complaint. During the call, the City also mentioned a “burden”
objection—but it was not immediately clear what that burden might be. The City first claimed it
would take time to review every RTR to determine whether it contained information that would
require a confidentiality designation or require redactions, but Plaintiff counsel is prepared to enter
into a stipulation presumptively treating each RTR as confidential—and to make reasonable
adjustments to the confidentiality orders in this case to eliminate the need for redactions.

        That seems to be the meat of the City’s burden objection. The City did not assert that the
actual gathering and production of RTRs would be burdensome, which would not be expected as the
RTRs are apparently stored electronically. Other than that, the City intimated that it might want to
read the roughly 5,000 RTRs requested in RFP 96, but the City has notably not asserted such an
objection with respect to the tens of thousands of pages it has produced so far in this case. And in
any event, this sort of objection ignores the simple reality that Monell claims, such as those asserted
here, alleging a widespread practice require the production of voluminous materials. See, e.g.,
Mollica v. County of Sacramento, No. 2:19-cv-2017, 2021 WL 2417118, at *2 (E.D. Cal. June 14,
2021) (finding request to identify every complaint or grievance of jail staff’s alleged failure to
provide medical care over a two year period was relevant and proportional to plaintiffs’ Monell
claims because “such claims often require a broad and substantial amount of discovery,” since they
“implicate a potentially large number of events taking place in an organization over a period of
time”); DeLeon v. Guevara, No. 18-cv-1028, 2019 WL 4278043 (N.D. Ill. Sept. 10, 2019) (requiring
defendants to produce all homicide files over a four-year period where Plaintiffs alleged Monell
claim of widespread practice of withholding exculpatory evidence in homicide cases and noting that
“courts evaluating Monell discovery requests routinely order production of all files for a five-year
period preceding the event at issue in a case.” (collecting cases)); McCrimmon v. Centurion of Fla.,
LLC, No. 3:20-cv-36, 2022 WL 356160, at *9 (M.D. Fla. Feb. 7, 2022) (“Documents of treatment
provided or denied by Centurion [a prison medical vendor] healthcare providers . . . over a period of
years certainly is relevant to Plaintiffs’ Monell claim, which requires a showing of other instances of
constitutionally inadequate healthcare.”).

        It is precisely because Monell defendants enjoy the protection of an exacting standard of
proof on widespread-practice claims that Monell discovery is often so broad. We do not believe the
Court will be receptive to the City both demanding strict proof of a widespread practice while also
objecting to the discovery that would permit Plaintiff to establish such a practice, such as the RTR
discovery Plaintiff seeks here—particularly in light of the shocking revelations of a “run tax” and
the code of silence that the Court just heard in the federal criminal trial over Mr. Nichols’s death.
Production of the RTRs, which is not burdensome in any event, is appropriate in this case.

        The City agreed to notify Plaintiff by October 31, 2024 whether it intends to stand on its
objections to RFP 96 or withdraw its objections and produce responsive documents.

           3. Plaintiff’s request for Production 73 (CompStat Meeting Documents)

      This request asks for the production of minutes, reports, data, and compiled statistics from
all MPD CompStat meetings from 2018-2023. The City objected to this RFP based on grounds that
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it is overly broad, not reasonably calculated to lead to relevant evidence, and not proportional to the
needs of the case.

       On the parties’ call, the City agreed to search for and produce all emails (including any
attached data), minutes, and notes that were circulated or generated in connection with CompStat
meetings dating back to January 2018.

        The City maintained that it was not feasible to produce data that was presented in real time
at CompStat meetings from the MPD data platform. On our call, however, the City was not prepared
to say why this was so. Presumably the data from which the CompStat information was generated is
the result of data entry that resides in a database or similar platform. Such data is typically
straightforward to produce once technical issues regarding export and ingestion of the data have been
resolved. That is likely the case here. To evaluate your position further, we ask that you please
specify, by November 8, 2024, how and where the data underlying the CompStat reports is
recorded. That information should help us assess the practicality of accessing this data in
discovery.

           4. Plaintiff’s Request for Production 90 (Memphis ISB Dashboard Files)

        This request asks for ISB Case Files for any ISB investigations from 2019 to 2023 in the
following categories: Bodyworn Cameras (DR 101), Personal Conduct (DR 104), and Excessive and
Unnecessary Force (DR 301). The City has objected to this request as overbroad based on the
premise that Plaintiff’s Monell allegations are limited to the SCORPION unit. That premise is
incorrect, as I explain above. See supra Part B.2. The City agreed to notify Plaintiff by October 31,
2024 whether it intends to stand on its objections to RFP 90 or withdraw its objections and produce
responsive documents.

           5. Plaintiff’s Request for Production 87, 88, and 89 (Production of Excessive Force
              ISB files the City allowed for Inspection to WMC Action News)

        These requests ask for the ISB Case Files from the period of 2015-2019 that the City made
available to WMC Actions News Five. The City has objected to these requests as overbroad based
on the premise that Plaintiff’s Monell allegations are limited to the SCORPION unit. That premise
is incorrect, as I have explained. See supra Part B.2.

        Additionally, the City objects to these requests on the grounds that they are overly
burdensome to produce because these documents are currently maintained, at least in part, in paper
form. Courts are generally hostile to a party’s claims of burden that are created by a party’s own
decision to store documents in an archaic manner. E.g., Briddell v. Saint Gobain Abrasives Inc., 233
F.R.D. 57, 61 (D. Mass. 2005) (“[I]t is [defendant’s] own record keeping policies which have
contributed significantly to the burden imposed on it. Courts have been loath to reward (and possibly
encourage) poor record keeping by shielding companies with inefficient recording methods from
discovery.”); Trask v. Olin Corp., 298 F.R.D. 244, 266-67 (W.D. Pa. 2014) (rejecting undue burden
claim where the “substantial expense” the defendant would incur was “largely because of the
significant time needed to go through its files to determine what information was contained therein,”
and “t[he expense of production wa]s thus due—at least in part—to the state of [defendant]’s record
keeping”). Thus, your burden objection is not well taken, particularly where the requested documents
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are of great relevance to Plaintiff’s widespread-practice Monell claims.

       Plaintiff’s counsel explained, furthermore, that because the City has previously made these
documents available to a third party it should not be overly burdensome to produce them to Plaintiff.
The City agreed to notify Plaintiff by October 31, 2024 whether it intends to stand on its objections
to RFPs 87-89 or withdraw its objections and produce responsive documents.

           6. Plaintiff’s Request for Production 118 (SCOPRION Unit Documents made
              available to news outlets through Public Records Requests)

        This request asks for all documents or items produced or made available for inspection to all
news outlets through Public Records Requests pertaining to the MPD SCORPION Unit. The City
has objected to this request as overbroad based on the incorrect premise that Plaintiff’s Monell
allegations are limited to the SCORPION unit. See supra Part B.2. The City agreed to notify Plaintiff
by October 31, 2024 whether it intends to stand on its objections to RFPs 87-89 or withdraw its
objections and produce responsive documents.

                                               ***

       We look forward to hearing from you regarding the above discovery matters.

                                                              Sincerely,

                                                              /s/ Joshua M. Levin



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